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                                                                       United States Bankruptcy Court
                                                                           Southern District of Texas

                                                                              ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT               October 05, 2022
                     FOR THE SOUTHERN DISTRICT OF TEXAS               Nathan Ochsner, Clerk
                                HOUSTON DIVISION
________________________________________
In re:                                     )   Chapter 11
                                           )
Montrose Multifamily Members, LLC,         )   Case No. 22-90323
                                           )
          Debtor.                          )   (Emergency Hearing Requested)
(EIN XX-XXXXXXX)                           )
________________________________________ )
________________________________________
In re:                                     )   Chapter 11
                                           )
Montrose Multifamily Members II, LLC,      )   Case No. 22-90324
                                           )
          Debtor.                          )
(EIN XX-XXXXXXX)                           )
________________________________________ )
________________________________________
In re:                                     )   Chapter 11
                                           )
Colquitt 2008, LP,                         )   Case No. 22-90325
                                           )
          Debtor.                          )
(EIN XX-XXXXXXX)                           )
________________________________________ )
________________________________________
In re:                                     )   Chapter 11
                                           )
Graustark Members II, LLC,                 )   Case No. 22-90326
                                           )
          Debtor.                          )
(EIN XX-XXXXXXX)                           )
________________________________________ )
________________________________________
In re:                                     )   Chapter 11
                                           )
Kipling Partners, LLC,                     )   Case No. 22-90327
                                           )
          Debtor.                          )
(EIN XX-XXXXXXX)                           )
________________________________________ )
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 ________________________________________
 In re:                                   )                Chapter 11
                                          )
 MT Vernon Members, LLC,                  )                Case No. 22-90328
                                          )
          Debtor.                         )
 (EIN XX-XXXXXXX)                         )
 ________________________________________ )
 ________________________________________
 In re:                                   )                Chapter 11
                                          )
 Norfolk Partners, LLC,                   )                Case No. 22-90329
                                          )
          Debtor.                         )
 (EIN XX-XXXXXXX)                         )
 _______________________________________ )
 ________________________________________
 In re:                                   )                Chapter 11
                                          )
 Westmoreland Partners, LLC,              )                Case No. 22-90330
                                          )
          Debtor.                         )
 (EIN XX-XXXXXXX)                         )
 ________________________________________ )


 ORDER (I) DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES AND
                    (II) GRANTING RELATED RELIEF (Docket No. 3)
      Came on for consideration, the Debtors’ Emergency Motion for an Order (I) Directing Joint
Administration of Chapter 11 Cases and (II) Granting Related Relief (the “Motion”), it is hereby
       ORDERED:
       1.       The Chapter 11 Cases are consolidated for procedural purposes only and shall be

jointly administered by the Court under Case No. 22-90323. Additionally, the following items are

ordered:

       a.       One disclosure statement and plan of reorganization may be filed for all cases by

       any plan proponent; and

       b.       Parties may request joint hearings on matters pending in any of the jointly-

       administered cases.
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       2.       The caption of the jointly-administered cases (the “Consolidated Caption”) should

read as follows:




       3.       A docket entry substantially similar to the following, shall be entered on the docket

of each one of the Debtors, other than Montrose Multifamily Members, LLC, to reflect the joint

administration of the Chapter 11 Cases:

       An order has been entered in accordance with rule 1015(b) of the Federal Rules
       of Bankruptcy Procedure and rule 1015-1 of the Local Rules of Bankruptcy
       Practice and Procedure of the United States Bankruptcy Court for the Southern
       District of Texas directing joint administration for procedural purposes only of
       the chapter 11 cases of: Montrose Multifamily Members, LLC, Case No. 22-
       90323 Montrose Multifamily Members II, LLC, Case No. 22-90324, Colquitt
       2008, LP, Case No. 22-900325, Graustark Members II, LLC, Case No. 22-90326,
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       Kipling Partners, LLC, Case No. 22-90327, MT Vernon Partners, LLC, Case No.
       22-90328, Norfolk Partners, LLC, Case No. 22-0329; and Westmoreland
       Partners, LLC, Case No. 22-90330. All further pleadings and other papers shall
       be filed in and all further docket entries shall be made in Case No. 22-90323.

       4.       The Debtors shall maintain, and the Clerk of the Court shall keep, one consolidated

docket, one file, and one consolidated service list for the Chapter 11 Cases.

       5.       Any party in interest may request joint hearings on matters pending in any of the

Chapter 11 Cases.

       6.       Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of the Chapter 11 Cases or creating

other implications regarding the separateness (or lack of separateness) of the Debtors’ estates for

any purpose, and this Order shall be without prejudice as to the rights of the Debtors to seek entry

of an Order substantively consolidating their respective cases.

       7.       The Debtors are authorized to file monthly operating reports and post-effective date

quarterly reports by an individual Debtor.

       8.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       9.       Notwithstanding any Bankruptcy Rule to the contrary, the terms and conditions of

this Orde are immediately effective and enforceable upon its entry.

       10.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.



     Signed: October 05, 2022.
                           Reserved for Judge’s Signature
                                            ____________________________________
                                                   DAVID R. JONES
                                                   UNITED STATES BANKRUPTCY JUDGE
